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FOR THE MIDDLE DISTRICT OF GEORGIA 7%

MACON DIVISION
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UNITED STATES OF AMERICA TOF GEORGIA
CRIM. NO. 5:20-CR-48-TES
¥s.
CODY RICHARD GRIGGERS

Defendant

 

PLEA AGREEMENT

It is agreed by the United States of America, by and through its undersigned attorney, and
Cody Richard Griggers, hereinafter referred to as “Defendant,” and Defendant’s undersigned
attorney, as follows:

(1)

Defendant acknowledges that Defendant has reviewed and discussed the Indictment
against Defendant in this matter with Defendant’s attorney and Defendant’s attorney has explained
to Defendant his understanding of the Government’s evidence,

(2)

Defendant understands that Defendant is not required to plead guilty, and that Defendant
has the right to plead not guilty and to elect instead to be tried by jury. Defendant understands that
at a jury trial, Defendant would enjoy a presumption of innocence, and that the United States would
have the burden of proving Defendant’s guilt beyond a reasonable doubt. Defendant understands
that Defendant would be entitled to the services of an attorney at all stages of such a trial.
Defendant understands that Defendant would be entitled to confront and to cross-examine the
United States’ proof, and to present witnesses and evidence in Defendant’s own behalf. Defendant
understands that Defendant would have the right to testify in Defendant’s own behalf, but that
Defendant could not be compelled to do so, Defendant has discussed these rights with Defendant’s

attorney. Defendant is satisfied with the services of Defendant’s attorney. Defendant knowingly

and voluntarily waives Defendant’s right to plead not guilty and to proceed to trial. Ya

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The Acting United States Attorney and the Defendant understand and agree that the Court
should consider its sentence in light of the advisory Federal Sentencing Guidelines, as explamed

in United States v. Booker, 543 U.S. 220 (2005). Defendant knowingly and voluntarily waives

 

any further objections that Defendant may have based on Booker, Apprendi v. New Jersey, 530
U.S. 466 (2000), and their progeny. Defendant therefore agrees that at sentencing the Court may
determine any pertinent fact by a preponderance of the evidence and the Court may consider any
reliable information, including hearsay. Defendant expressly waives any claim of right to an
indictment, trial by jury, and/or proof beyond a reasonable doubt on any factual determinations
that pertain to sentencing in this case.

(3)

Defendant being fully cognizant of Defendant’s rights, and in exchange for the
considerations to be made by the United States as set forth in Paragraph (4) below, agrees pursuant
to Rule 11{c), Federal Rules of Criminal Procedure, as follows:

(A) The Defendant is guilty and will knowingly and voluntarily enter a plea of guilty
to Count One of the Indictment which charges Defendant with Possession of an Unregistered
Firearm in violation of Title 26, United States Code, Sections 5841, 5861(d), and 5871.

(B} That Defendant fully understands that Defendant’s plea of guilty as set forth in
Subparagraph (A), above, will subject Defendant on Count One to a maximum sentence of ten
(10) years imprisonment, a maximum fine of $250,000.00, or both, and a term of supervised release
of three (3) year(s). Defendant further acknowledges that the Court is required to impose a
mandatory assessment of $100.00 per count.

(C) The Defendant acknowledges and understands that the Court is not bound by any
estimate of the probable sentencing range that Defendant may have received from Defendant’s

attorney, the Government, or the Probation Office. The Defendant further acknowledges and
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agrees that Defendant will not be allowed to withdraw Defendant’s plea because Defendant has
received an estimated guideline range from the Government, Defendant’s attorney, or the
Probation Office which is different from the guideline range computed by the Probation Office in
the Presentence Investigative Report and found by the Court to be the correct guideline range.

(D) The Defendant understands fully and has discussed with Defendant’s attorney that
the Court will not be able to determine the appropriate guideline sentence until after a Presentence
Investigative Report has been completed. The Defendant understands and has discussed with
Defendant’s attorney that the Defendant will have the opportunity to review the Presentence
Investigative Report and challenge any facts reported therein. The Defendant understands and has
discussed with Defendant’s attorney that any objections or challenges by the Defendant or
Defendant’s attorney to the Presentence Investigative Report or the Court’s rulings thereon will
not be grounds for withdrawal of the plea of guilty.

(E) Defendant understands and has discussed with Defendant’s attorney that after the
Court determines the applicable guideline range of this case, the Court has the authority under
certain circumstances to impose a sentence that is more severe or less severe than the sentence
called for by the guidelines.

(F) Defendant agrees to provide a check for the mandatory assessment at the time of
sentencing.

(G) Waiver of Appeal Rights and Right of Collateral Attack:

Understanding that Title 18, United States Code, Section 3742 provides for appeal by a
Defendant of the sentence under certain circumstances, Defendant waives any right to appeal the
imposition of sentence upon Defendant, including the right to appeal the amount of restitution
imposed, if any, except in the event that the District Court imposes a sentence that exceeds the

advisory guideline range as that range has been calculated by the District Court at the time of

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sentencing, or in the event that the District Court imposes a sentence in excess of the statutory
maximum.

Defendant waives any right to collaterally attack Defendant's conviction and sentence
under Title 28, United States Code, Section 2255, or to bring any other collateral attack, except
that Defendant shali retain the right to bring a claim of ineffective assistance of counsel. This
provision shall not bar the filing of a petition for writ of habeas corpus, as permitted by Title 28,
United States Code, Section 2241.

Defendant waives any right to file a motion for modification of sentence, including under
Title 18, United States Code, Section 3582(c)(2), except in the event of a future retroactive
amendment to the sentencing guidelines which would affect Defendant’s sentence.

Defendant and the Government agree that nothing in this plea agreement shail affect the
Government’s right or obligation to appeal as set forth in 18 U.S.C. § 3742(b). If, however, the
Government appeals Defendant’s sentence pursuant to this statute, Defendant is released from
Defendant’s waiver of Defendant’s right to appeal altogether.

Defendant acknowledges that this waiver may result in the dismissal of any appeal or
collateral attack Defendant might file challenging his/her conviction or sentence in this case. If
Defendant files a notice of appeal or collateral attack, notwithstanding this agreement, Defendant
agrees that this case shall, upon motion of the Government, be remanded to the District Court to
determine whether Defendant is in breach of this agreement and, if so, to permit the Government
to withdraw from the plea agreement.

Defendant agrees to provide complete, candid, and truthful statements to law

   
    
   
 

enforcement officers regardi endant’s involvement and the involvement of all others

involved in the charges alleged in the present Indictment a5 s any and all criminal violations

about which the Defendant has knowledge or information and that such information provi

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be pursuant to and covered by this agreement. The Defendant further agrees to previde complete,

   
 

candid, and truthful testimony regarding such matters_1 proceeding. The Defendant

understands that this agreement does en ns tates to implicate any particular
individual or individuals.ort6 “make a case,” rather it requires the Defendant to be truthful and to
testify tr ifflly whenever called upon.

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(B Defendant and the Government stipulate and agree that there was no detected or
identified biological evidence obtained during the investigation and prosecution of the matter
which is subject to DNA testing. The Defendant further agrees that all evidence obtained in this
investigation and prosecution may be destroyed or returned to its rightful owner.

(J) The United States of America and Defendant hereby agree that any breach of this
agreement by the Defendant occasioned by a failure to cooperate, by withholding information,
giving of false information, perjury, or failure to testify in any judicial proceeding in connection
with the individuals, matters, and transactions referred to in the information, would: (a) not relieve
the Defendant of Defendant’s plea of guilty; (b) permit the Government to reinstate and proceed
with prosecution on any other charges arising from the matters referred to in this superseding
information; (c} permit the Government to instigate and proceed with the prosecution of any other
offenses arising from a breach of this agreement, including perjury, false declaration, false
statement, and/or obstruction of justice; and (d) permit the Government to utilize against the
Defendant in any subsequent judicial proceeding any and all statements made by the Defendant.
If a legitimate issue arises as to whether or not there has been a breach of this agreement, said
question shall be determined by the United States District Court for the Middle District of Georgia.
The burden of establishing such a breach shall be upon the United States and shall be established
by a preponderance of the evidence. The Federal Rules of Evidence shall not apply in any hearing
to establish such a breach, but evidence shall be admitted and excluded at the Court's discretion. jy

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In exchange for the consideration set forth in Paragraph (3) above, the Acting United States
Attorney for the Middle District of Georgia agrees as follows:

(A) — That he will accept the plea of guilty by Defendant as provided in Paragraph (3)(A),
above, in full satisfaction of all possible federal criminal charges, known to the Acting United
States Attorney at the time of Defendant’s guilty plea, which might have been brought solely in
this district against the Defendant. The Acting United States Attorney agrees to dismiss the
remaining counts of the pending Indictment, if any, in exchange for Defendant’s plea of guilty to
Count One of the Indictment.

(B) ‘That he further agrees, if the Defendant cooperates truthfully and completely with
the Government, including being debriefed and providing truthful testimony, at any proceeding
resulting from or related to Defendant’s cooperation, to make the extent of the Defendant’s
cooperation known to the sentencing court. If the Defendant is not completely truthful and candid
in his cooperation with the Government, he may be subject to prosecution for perjury, false
statements, obstruction of justice, and/or any other applicable charge. If the cooperation is
completed prior to sentencing, the Government agrees to consider whether such cooperation
qualifies as “substantial assistance” pursuant to 18 U.S.C. Section 3553(e) and/or Section 5K1.1
of the Sentencing Guidelines warranting the filing of a motion at the time of sentencing
recommending a downward departure from the applicable guideline range. If the cooperation is
completed subsequent to sentencing, the Government agrees to consider whether such cooperation
qualifies as “substantial assistance” pursuant to Rule 35(b) of the Federal Rules of Criminal
Procedure warranting the filing of a motion for reduction of sentence within one year of the
imposition of sentence. In cither case, the Defendant understands that the determination as to

whether Defendant has provided “substantial assistance” rests solely with the Government. Any
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good faith efforts on the part of the Defendant that do not substantially assist in the investigation
or prosecution of another person who has committed a crime will not result in either a motion for
downward departure or a Rule 35 motion. In addition, should the Defendant fail to cooperate
truthfully and completely with the Government, or if the Defendant engages in any additional
criminal conduct, the Defendant shall not be entitled to consideration pursuant to this paragraph.

(C) Pursuant to Section 1B1.8 of the United States Sentencing Guidelines, the
Government agrees that any self-incriminating information which was previously unknown to the
Goverment and is provided to the Government by the Defendant in connection with Defendant’s
cooperation and as a result of the Defendant’s plea agreement to cooperate will not be used in
determining the applicable guideline range. Further, the Government agrees not to bring additional
charges against the Defendant, with the exception of charges resulting from or related to violent
criminal activity, as defined in 18 U.S.C. § 924(e}(2)(B)(), based on any information provided by
the Defendant in connection with the Defendant’s cooperation, which information was not known
to the Government prior to said cooperation. This does not restrict the Government's use of
information previously known or independently obtained for such purposes.

(D) If the Defendant affirmatively manifests an acceptance of responsibility as
contemplated by the Federal Sentencing Guidelines, the Acting United States Attorney wil
recommend to the Court that the Defendant receive an appropriate downward departure for such
acceptance. It is entirely within the Court’s discretion whether or not the Defendant would be
entitled to any reduction based upon an acceptance of responsibility. The United States expressly
reserves its right to furnish to the Court information, if any, showing that the Defendant has not
accepted responsibility, including, but not limited to, denying his involvement, giving conflicting
statements as to his involvement, or engaging in additional criminal conduct including personal

use of a controlled substance. v7

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(E) =‘ That the Acting United States Attorney will make a non-binding recommendation
to the Court for a two-level downward departure pursuant to U.S.S.G. § 5K2.0(a)(2)(B),
Unidentified Circumstances, for Defendant’s agreement to enter a guilty plea during the global
pandemic while the Court’s COVID-19 Jury Trial Moratorium is in effect.

(5)
Criminal Forfeiture

Defendant Cody Richard Griggers hereby agrees to forfeit to the United States voluntarily
and immediately all of defendant’s right, title, and interest in any and all property, which is subject
to forfeiture pursuant to Title 26, United States Code, Section 5872, in conjunction with Title 28,
United States Code, Section 2461 (c), including, but not limited to the following: one (1) Browning
Gold, 12 gauge shotgun, Serial Number: 113MR01948 (hereinafter referred to as the “subject
property”).

(A) | Defendant agrees to the entry of a preliminary order of forfeiture of the subject
property pursuant to the Federal Rules of Criminal Procedure 32.2 upon acceptance of defendant’s
plea of guilty by the United States District Court, and waives the requirements of Federal Rules of
Criminal Procedure 32.2 and 43(a) regarding notice of the forfeiture in the charging instrument,
announcement of the forfeiture at sentencing, and incorporation of the forfeiture in the judgment.
Defendant acknowledges that he understands that the forfeiture of the subject property is part of
the sentence that may be imposed in this case and waives any failure by the court to advise him of
this, pursuant to FED. R. Crim. P. 11(b)(1)C), at the time his guilty plea is accepted.

(B) Defendant agrees that the subject property was possessed in violation of Title 26,

United States Code, Sections 5841, 5861(d), and 5871, set forth in Count One of the Indictment,

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and is subject to forfeiture under Title 26, United States Code, Sectton 5872, in conjunction with
Title 28, United States Code, Section 2461(c).

(C) Defendant agrees fully to assist the United States in the forfeiture of the subject
property and to take whatever steps are necessary to pass clear title to the subject property to the
United States, including but not limited to, surrender of title and execution of any documents
necessary to transfer defendant’s interest in any of the subject property to the United States,
assisting in bringing any assets located outside the United States within the jurisdiction of the
United States, and taking whatever steps are necessary to ensure that the property subject to
forfeiture is not sold, disbursed, wasted, hidden, or otherwise made unavailable for forfeiture.

(D) Defendant agrees to waive all interest and not file a claim to any of the subject
property in any administrative or judicial forfeiture proceeding, whether criminal or civil, state or
federal, which may be or has been initiated.

(E) Defendant agrees to waive defendant’s right to notice of any forfeiture proceeding
involving the subject property, and agrees not to file a claim or assist others in filing a claim in
any such forfeiture proceeding.

(F) Defendant knowingly and voluntarily waives defendant’s right to a jury trial on the
forfeiture of the subject property. Defendant knowingly and voluntarily waives all constitutional,
legal, and equitable defenses to the forfeiture of these assets in any proceeding. Defendant agrees
to waive any jeopardy defense or claim of double jeopardy, whether constitutional or statutory,
and agrees to waive any claim or defense under the Eighth Amendment to the United States
Constitution, including any claim of excessive fine, to the forfeiture of these assets by the United

States, the State of Georgia, or its subdivisions.

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(G) Defendant agrees that forfeiture of the defendant’s assets shall net be treated as
satisfaction of any fine, restitution, cost of imprisonment, or any other penalty this court may
impose upon the defendant in addition to forfeiture.

(H) Defendant agrees to hold harmless, release, and forever discharge the United States,
its officers, agents, attorneys, servants, and employees, from any and all actions, causes of actions,
suits, proceedings, debts, dues, contracts, judgments, damages, claims, or demands whatsoever in
law or equity which the defendant, his successors, or assigns, ever had, now have, or may have,
whether known or unknown, in connection with the seizure and forfeiture of the subject property,

(D The Government reserves its right to proceed against any remaining assets not
identified either in this agreement or in the civil actions, if any, which are being resolved along
with this plea of guilty, including any property in which the defendant has any interest or control,
if said assets, were possessed in violation of Title 26, United States Code, Sections 5841, 5861(d),
and 5871, set forth in Count One of the Indictment.

(J) Defendant freely, voluntarily, knowingly, and intelligently waives any right to
appeal or collaterally attack any matter in connection with the forfeiture of assets pursuant to this
plea agreement.

(K) Defendant agrees that the forfeiture provisions of this plea agreement are intended
to, and will, survive him, notwithstanding the abatement of any underlying criminal conviction
after the execution of this agreement. The forfeitability of any particular property pursuant to this
agreement shall be determined as if defendant had survived, and that determination shall be
binding upon defendant’s heirs, successors and assigns until the agreed forfeiture, is collected in

full.

 

 
CERTAIN PROPERTY AND CONSENT TO ITS DESTRUCTION

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to abandon and relinquish all of his right, title, and mterest in the following property: one (1) Pietro

In lieu of forfeiture, the Defendant, Cody Richard Griggers, freely and voluntarily agrees

  
    
    
     
   
   
    
   
   
  
  
   
   
  
 
  
 
 

Beretta, Mam pistol with a suppressor, Serial Number: J85648Z with an attached magazine; one

(1) Andersork Manufacturing, Model: AMI5, 5.56 NATO caliber, M16-type firearm, with an
obliterated serial number with an accompanying magazine; one (1) Carl Walther, Model: P22, .22
LR caliber pistol, Serial Number: WA241481, with an accompanying magazine; one (1) Glock,
Model: 26, 9mm pistol, Serial Number: BGXC384, with a Streamlight TLR-6 attached; one (1)
Glock 9mm magazine ith a ten (10) round capacity; one (1) Remington, Model: 870, [2 gauge
shotgun, Serial Number: RFO3848A; one (1) Kel-Tec, Model: KSG, 12 gauge shotgun, Serial
Number: XXPRO7; one (1} Glock, Model: 45, 9mm pistol, Serial Number: BLAZ455, with a
Streamlight TLR-1 attached; one 1) Glock 9mm magazine with a seventeen (17) round capacity;
nine (9) assorted 5.56 caliber magazines; one (1) box containing one hundred ninety-five (195)
rounds of 5.56 ammunition; four (4) boxss containing twenty-five (25) rounds each of 12 gauge
Estate Buckshot; three (3) boxes containing fifty (50) rounds each of CCI Blazer 10mm
ammunition; one (1) box containing seventeen (17) Luger 9mm rounds and two (2) practice
dummy rounds of ammunition; ten (10) rounds of chester 9mm Luger ammunition; ten (10)
rounds of Remington Long Rifle ammunition; twelve (2) rounds of Winchester 12 gauge
ammunition; thirteen (13) rounds of Estate 12 gauge ammunitidq; nine (9) firearm silencers; and
any and all firearm/suppressor parts or material (hereinafter collectivdly referred to as the “‘subject
property”).

(A) The Defendant is the sole owner of the subject property, whichis in the lawful
custody of the United States Department of Justice, Federal Buruea of Investigaiton, agd warrants

that there are no other persons or entities having an interest in the subject property.

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(B) Defendant acknowledges that as a convicted felon, Defendant has no right to
posskss the firearms/firearm silencers/ammunition, either actually or constructively.

C) Defendant hereby waives and abandons all! right, title, and interest in the listed
subject property, The Defendant acknowledges that the subject property was lawfully seized, and
waives, releases, and withdraws any claim that Defendant has made with respect to the subject
property, and waives and releases any claim that Defendant might otherwise have made to it in the
future.

(D)  Defendynt consents to the destruction of the subject property.

(E) Defendaniwaives any right Defendant might otherwise have had to receive notice
or a hearing with respect to\any motion, pleading, order, or any other action that the Government
might take, tn tts sole discreion, to carry out the destruction of the listed subject property.
Defendant’s waiver includes, without limitation, all common law, statutory, and constitutional
claims or challenges, on any grounds, arising at any time from, or relating to, the seizure,
abandonment, disposition, and destruction of the listed subject property, including any such claim
for attorney fees and litigation costs,

(F) Defendant agrees to hold harinless the United States, the State of Georgia and all
political subdivisions thereof, its officers, agekts, attorneys, servants, and employees, from any
and all actions, causes of actions, suits, proceedings, debts, dues, contracts, judgments, damages,
claims, or demands whatsoever in law or equity which Defendant, his successors, or assigns, ever
had, now have, or may have, whether known or unknown, ‘arising from and in connection with the
seizure, abandonment, and destruction of the listed subject property,

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Nothing herein limits the sentencing discretion of the Court,

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This agreement constitutes the entire agreement between the Defendant and the United
States, and no other promises or inducements have been made, directly or indirectly, by any agent
of the United States, including any Assistant United States Attorney, concerning any plea to be
entered in this case. In addition, Defendant states that no person has, directly or indirectly,
threatened or coerced Defendant to do or refrain from doing anything in connection with any aspect
of this case, including entering a plea of guilty.

(9)

As an aid to this Court, the Acting United States Attorney and the Defendant, by and
through Defendant’s attorney, enter into the following Stipulation of Fact. This stipulation is
entered into in good faith with all parties understanding that the stipulation is not binding on the
Court. Under U.S.S.G. Policy Statement Section 6B1.4(d), this Court may accept this stipulation
as written or in its discretion with the aid of the Presentence Investigative Report determine the
facts relevant to sentencing.

Subject to the above paragraph, the Acting United States Attorney and the Defendant
stipulate and agree that the Government could prove the following beyond a reasonable doubt:

The FBI in San Diego was investigating a man for making violent poltstical statements on
social media. Agents learned that this man was in a group text with Defendant, who was a Deputy
with the Wilkinson County Sheriffs Office. In the group text, Defendant made statements that he
was manufacturing and acquiring illegal firearms, explosives, and suppressors. He also expressed
viewpoints consistent with white racially motivated violent extremism, including the use of racial
slurs, slurs against homosexuals, and making frequent positive references to the Nazi holocaust.

On November 19, 2020, agents executed a search warrant at Defendant’s residence. In

Defendant’s bedroom closet, law enforcement seized a Browning Gold, 12 gauge shotgun, Serial

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Number: 113MR01948. The shotgun had a barrel length of fewer than 18 inches, and it was not
registered to him in the National Firearms Registration and Transfer Record. Defendant admits
that he knew of the specific characteristics or features of the firearm that made it subject to
registration under the National Firearms Registration and Transfer Record, namely that it had a
shortened barrel. Agents also seized firearm silencers at the house, which were required to be
registered in the National Firearms Registration and Transfer Record but were not.

Agents also searched Defendant’s duty vehicle. Agents found multiple firearms in the
vehicle, including an Anderson Manufacturing, Model: AM15, 5.56 NATO caliber, M16-type
firearm, which qualifies as a machinegun, which had an obliterated serial number, This
machinegun was not issued to Defendant, nor was Defendant allowed to have it in his duty vehicle.
This machinegun was required to be registered in the National Firearms Registration and Transfer
Record but was not.

Between Defendant’s residence and duty vehicle, agents seized nine (9) firearm silencers,
which were required to be registered in the National Firearms Registration and Transfer Record
but were not. The parties stipulate and agree that for the purposes of determining relevant conduct

per U.S.S.G, §2K2.1(b)(1), this offense involved eleven (11) illegal firearms.

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(10)
ACCEPTANCE OF PLEA AGREEMENT
Defendant understands and has fully discussed with Defendant’s attorney that this
agreement shall become effective only upon the Court’s acceptance of this agreement and the
Court’s acceptance of the plea of guilty by the Defendant.

SO AGREED, this 26 day of AQc . » AO?)\

 

PETER D. LEARY
ACTING UNITED STATES ATTORNEY

BY: MW yin R. UF LO
WILLIAMR. KEYES ”
ASSISTANT UNITED STATES ATTORNEY

 

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1, Cody Richard Griggers, have read this agreement and had this agreement read to me by
my attorney, Keith E. Fitzgerald. I have discussed this agreement with my attorney and I fully

understand it and agree to its terms.

 

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CODY RICHARD GRIGGERS
DEFENDANT

 

l, Keith E. Fitzgerald, attorney for Defendant Cody Richard Griggers, have explained the
Indictment and the Government’s evidence received through discovery and my investigation of
the charge to Defendant. I believe Defendant understands the charge against Defendant and the
evidence that would be presented against Defendant at a trial. I have read this agreement, have

been given a copy of it for my file, and have explained it to Defendant. To the best of my

knowledge and belief, Defendant Eh cap

KpITH B, FETZGERALD y —
ATTORNEY FOR DEFENDANT

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